Case 5:18-cv-00402-JSM-PRL Document 130 Filed 07/23/19 Page 1 of 4 PageID 923



                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               OCALA DIVISION


CASEY E. WALSH,

       Plaintiff,

v.                                                      Case No: 5:18-cv-402-Oc-30PRL

CITY OF OCALA, REUBEN GUINN,
MARY SUE RICH, JAY MUSLEH,
MATTHEW WARDELL, BRENT
MALEVER, JAMES HILTY, KENNETH
GRAHAM, WILLIAM WOODS,
MICHAEL BALKEN and LOUIS
BIONDI,

       Defendants.


                                        ORDER

       THIS CAUSE came on for consideration on the Report and Recommendation

submitted by Magistrate Judge Philip R. Lammens (Doc. 120). In the Report and

Recommendation, the Magistrate Judge recommends that Defendants’ Motions to Dismiss

(Docs. 73, 74, 78, 79, and 80) be granted, and that this case proceed only against the City

of Ocala on two retaliation claims.

       Plaintiff Casey Walsh objects to the Report and Recommendation, raising the

following objections:

       1. The Magistrate Judge wrongly concluded Walsh failed to state a claim for hostile

          environment sexual harassment by misapplying the four, objective-component

          factors in Mendoza v. Borden, Inc., 195 F.3d 1238, 1245 (11th Cir. 1999);
Case 5:18-cv-00402-JSM-PRL Document 130 Filed 07/23/19 Page 2 of 4 PageID 924



       2. The Magistrate Judge wrongly concluded that the “spurned suitor” exception for

          retaliation claims under the equal protection clause did not apply to Walsh’s

          retaliation claim in count V; and

       3. The Magistrate Judge wrongly concluded that she could not state a claim for

          constructive discharge.

(Doc. 122).

       The Court concludes all the objections should be overruled. Having reviewed the

Report and Recommendation and the amended complaint, the Court agrees that Walsh

failed to state a claim for hostile environment sexual harassment. While the Magistrate

Judge did not explicitly analyze the fourth factor—“whether the conduct unreasonably

interferes with the employee's job performance,” Mendoza, 195 F.3d at 1246—the

Magistrate Judge properly considered the remaining factors and found that they were so

deficient that Walsh’s claim was not plausible. That is enough. Regardless, this Court

concludes that Walsh failed to state a claim for hostile environment sexual harassment

under the totality of the circumstances based on its independent review of the pleading.

       That ruling flows directly into this Court’s conclusion that the Magistrate Judge

correctly analyzed the applicability of the “spurned suitor” exception. The “spurned suitor”

exception, as the Magistrate Judge explained, is dependent on a hostile environment sexual

harassment claim existing. (Doc. 120, p. 13). Because this Court agrees that Walsh failed

to state a claim for hostile environment sexual harassment, it must also agree with the

Magistrate Judge that the “spurned suitor” exception does not apply.




                                              2
Case 5:18-cv-00402-JSM-PRL Document 130 Filed 07/23/19 Page 3 of 4 PageID 925



       Finally, the Magistrate Judge’s discussion of whether Walsh could prove

constructive discharge was mere dicta. The Magistrate Judge recommended dismissal of

count XI because constructive discharge is not itself a cause of action. Walsh concedes this

in her objections. (Doc. 122, p. 15) (“Plaintiff agrees that her constructive discharge claim

should be subsumed within her claims for retaliation.”). So Walsh’s objection to dicta in

the Report and Recommendation is overruled.

       So, after careful consideration of the Report and Recommendation of the Magistrate

Judge in conjunction with an independent examination of the file, the Court is of the

opinion that the Magistrate Judge's Report and Recommendation should be adopted,

confirmed, and approved in all respects.

       ACCORDINGLY, it is therefore, ORDERED AND ADJUDGED:

       1.     The Report and Recommendation (Doc. 120) of the Magistrate Judge is

              adopted, confirmed, and approved in all respects and is made a part of this

              order for all purposes, including appellate review.

       2.     Defendants’ Motions to Dismiss (Docs. 73, 74, 78, 79, and 80) are

              GRANTED as follows:

              a.     Counts I, II, III, IV, V, VI, VII, IX, and XI are DISMISSED WITH

                     PREJUDICE.

              b.     The Clerk shall terminate Reuben Guinn, Mary Sue Rich, Jay Musleh,

                     Matthew Wardell, Brent Malever, James Hilty, Kenneth Graham,

                     William Woods, Michael Balken, and Louis Biondi as Defendants,

                     leaving the City of Ocala as the only remaining Defendant.


                                             3
Case 5:18-cv-00402-JSM-PRL Document 130 Filed 07/23/19 Page 4 of 4 PageID 926



      DONE and ORDERED in Tampa, Florida, this 23rd day of July, 2019.




Copies Furnished To:
Counsel/Parties of Record




                                       4
